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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 In Re:                                           CASE NO. 23-51696-bem

 MATTHEW RYAN STUCKE,
         Debtor.                                  CHAPTER 7


 AMENDMENT TO SCHEDULE A/B, STATEMENT OF FINANCIAL AFFAIRS, AND
     DECLARATION ABOUT AN INDIVIDUAL DEBTOR’S SCHEDULES

       COMES NOW Matthew Ryan Stucke, Debtor in the above-referenced Chapter 7 case, and

hereby amends:


       Schedule A/B to add a 50% interest in ABR Interests, LLC

       Statement of Financial Affairs, Question 27, to add ABR Interests, LLC.


       Attached are the amended Schedule A/B, Statement of Financial Affairs, and Declaration

About an Individual Debtor’s Schedules.


Dated: August 4, 2023               ROUNTREE LEITMAN KLEIN & GEER, LLC

                                           /s/ Caitlyn Powers
                                           Caitlyn Powers, Ga. Bar No. 856354
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                               CERTIFICATE OF SERVICE

        This is to certify that on August 3, 2023, I electronically filed the foregoing amended
Schedule A/B, Statement of Financial Affairs, and Declaration About an Individual Debtor’s
Schedules with the Clerk of the Court using the CM/ECF system which will send electronic
notification of such filing.

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Dated: August 4, 2023                      ROUNTREE LEITMAN KLEIN & GEER, LLC

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